Case: 23-30445         Document: 290-1           Page: 1     Date Filed: 08/26/2024




         United States Court of Appeals
              for the Fifth Circuit                                  United States Court of Appeals
                                                                              Fifth Circuit
                                 ____________                               FILED
                                                                      August 26, 2024
                                  No. 23-30445
                                                                        Lyle W. Cayce
                                 ____________
                                                                             Clerk
State of Missouri; State of Louisiana; Aaron Kheriaty;
Martin Kulldorff; Jim Hoft; Jayanta Bhattacharya;
Jill Hines,

                                                                Plaintiffs—Appellees,

                                        versus

Joseph R. Biden, Jr.; Vivek H. Murthy; Xavier Becerra;
Department of Health &amp; Human Services; Anthony
Fauci; Et al.,

                                         Defendants—Appellants.
                 ______________________________

                 Appeal from the United States District Court
                    for the Western District of Louisiana
                          USDC No. 3:22-CV-1213
                 ______________________________

                     ON REMAND FROM
          THE SUPREME COURT OF THE UNITED STATES

Before Clement, Elrod, and Willett, Circuit Judges.
Per Curiam:*


     _____________________
     *
         This opinion is not designated for publication. See 5th Cir. R. 47.5.
Case: 23-30445       Document: 290-1       Page: 2   Date Filed: 08/26/2024




                                 No. 23-30445


       This case is before us on remand from the Supreme Court, which
reversed our judgment and held that none of the Plaintiffs has standing to
seek a preliminary injunction. Murthy v. Missouri, 144 S. Ct. 1972, 1981, 1997
(2024). Accordingly, we VACATE the judgment of the district court and
the preliminary injunction in their entirety and REMAND for further
proceedings consistent with the Supreme Court’s opinion. The Clerk is
directed to issue the mandate forthwith.




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